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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                                      www.flsb.uscourts.gov


    In re:                                                     Chapter 11

    SHIFTPIXY, INC. et, al.1                                   Case No. 24-21209-LMI

          Debtors.                                             (Jointly Administered)
    _______________________________/

DEBTORS MOTION FOR ENTRY OF AN ORDER AUTHORIZING THE DEBTORS TO
  FILE A FORM 15 WITH THE SECURITIES AND EXCHANGE COMMISION TO
                       DEREGISTER SECURITIES

             The above-captioned debtors and debtors-in-possession (collectively, the “Debtors”), file

this Motion (the “Motion”) for entry of an order: (i) authorizing the Debtors to file a Form 15 with

the Securities and Exchange Commission (“SEC”) seeking the termination of registration of

ShiftPixy Inc., common stock under section 12(g) of the Securities and Exchange Act of 1934 (the

“Exchange Act”) and reporting requirements associated thereto under sections 13 and 15(d) of the

Exchange Act and (ii) granting related relief.

                                                JURISDICTION

             1.     This Court has jurisdiction over this Motion pursuant to 28 U.S.C. § 157 and 1334.

This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

             2.     Venue is proper in this Court pursuant to 28 U.S.C. §§1408 and 1409.

             3.     The statutory and legal predicates for the relief requested herein are sections 105(s),

1107(a), and 1108 of title 11 of the United States Code (“Bankruptcy Code”)



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 The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management, Inc.
The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.
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                                        BACKGROUND

       4.      On October 28, 2024, the Debtors filed chapter 11 petitions with this Court. The

Debtors continue to operate their business and manage their affairs as debtors in possession

pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No committee or trustee has been

appointed in these cases.

       5.      Information regarding the Debtors business and the filing of these cases is set forth

in the Declaration of Jonathan Feldman in Support of Chapter 11 Petitions and First Day

Pleadings [ECF no. 16] (“CRO Declaration”).

       6.      The Debtors are moving towards the sale of their core business. See Expedited

Motion for (I) Entry of an Order (A) Approving Certain Bidding Procedures and Form and Manner

of Notice Thereof (B) Scheduling an Auction and a Hearing on the Approval of the Sale of or All

or Substantially All of the Debtors' Remaining Assets, (C) Establishing Certain Assumption and

Assignment Procedures and Approving Manner of Notice Thereof, and (D) Scheduling a Hearing

to Approve Assumption and Assignment of the Assumed Contract (II) Entry of an Order (A)

Authorizing the Debtors' Entry Into an Asset Purchase Agreement; and (B) Authorizing the Sale of

All of Substantially All of the Debtors' Assets Frees and Clear of All Encumbrances; (C) Entry of

an Order Approving the Assumptions and Assignment of the Assumed Contracts and (IV) Related

Relief [ECF No. 60].

                                    RELIEF REQUESTED

       7.      By this Motion, the Debtors request that the Court grant them the authority to file

a Form 15 with SEC seeking a termination of registration for ShiftPixy Inc’s. common stock under

section 12(g) of the Exchange Act, and reporting requirements associated thereto under sections



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13 and 15(d) of the Exchange Act and take all necessary and appropriate steps in connection

therewith.

                              BASIS FOR RELIEF REQUESTED

       8.      Sections 1107(a) and 1108 of the Bankruptcy Code authorize a debtor-in-possession

to operate the debtor’s business. Courts have held that a debtor’s authority to operate it business

necessarily includes the concomitant discretion to exercise reasonable judgement in ordinary

business matters. In re DeLuca Distrib. Co., 38 B.R. 588, 591 (Bankr. N.D. Ohio 1984); Allied

Tech, Inc., v. R.Bl. Brunemann & Sons, Inc., 25 B.R. 484,495 (Bankr. S.D. Ohio 1982).

Nevertheless, the Debtors, out of an abundance of caution, herein seek Court approval to take this

ordinary but necessary action.

       9.      The Debtors’ submit that this Court is empowered to grant the Debtor’s request

under section 105(a) of the Bankruptcy Code. Section 105(a) provides that the “court may issue

any order, process, or judgment that is necessary or appropriate to carry out the provisions of this

title.” 11 U.S.C. §105(a). The purpose of section 105(a) is to assure the Bankruptcy Court’s power

to take appropriate action and fashion orders as are necessary to further the purposes of the

substantive provisions of the Bankruptcy Code. United States v. Sutton, 786 F.2d 1305,1307 (5th

Cir. 1986).

       10.     The Debtors continue to bear the burden of reporting requirements pursuant to

section 13 and 15(d) of the Exchange Act. These are in addition to requirements imposed by the

Bankruptcy Code and this Court. The investing public no longer requires the information in such

filings given that there has been no trading of ShiftPixy Inc’s stock since the filing. Moreover, the

presence of the public reporting requirements in connection with these cases provides the public

with sufficient information about ShiftPixy Inc.



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       11.      The Debtors submit that this request is ordinary. Indeed, in In re Christopher &

Banks Corp., 21-10269 (Bankr. D. N.J.) [ECF No. 326] the bankruptcy court granted relief

identical to what is being requested here. To be clear the Debtors are seeking authority for the

Chief Restructuring Officer to undertake all steps necessary under applicable processes in place

with the SEC to deregister the securities. This Motion does not seek to circumvent any SEC

requirements.

       WHEREFORE, the Debtors request that the Court enter an order granting the Motion and

authorizing the Chief Restructuring Officer to file a Form 15 with the SEC and take any and all

other steps necessary to delist the ShiftPixy, Inc. stock from the public markets and grant any such

other relief as the Court deems just and appropriate.

Dated November 20, 2024

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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the Motion was served via CM/ECF Notification

and/or U.S. Mail to all parties on the attached service list on this 20 th day of November, 2024.



                                              /s/ Isaac Marcushamer
                                              Isaac Marcushamer, Esq.
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To all parties on the attached mailing matrix.




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Employment Security Division,
Employer Accounts Audit
220 French Landing Drive,
Nashville, TN 37243
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Virginia Department of Taxation
PO Box 1115.
Richmond, VA 23218-1115.

Virginia Department of Taxation
PO Box 1777,
Richmond, VA 23218

Securities and Exchange Commission
801 Brickell Avenue
Suite 1950
Miami, FL 33131

Securities and Exchange Commission
100 F. Street NE
Washington, DC 20549
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A & A Ornamental, Inc
18731 SW 87th Ave
Cutler Bay, FL, 33157

ALLIED SPORTS LLC
PO BOX 845785
BOSTON, MA, 02284-5785

BEST OFFICE COFFEE SERVICES
13130 SW 130 TERRACE,
MIAMI, FL, 33186

CINTAS
PO BOX 631025
CINCINNATI, OH, 45263-1025

CK Administrative Services LLC
777 S Figueroa Street, Suite 4100
Los Angeles, CA, 90017

DGA SECURITY
429 WST 53RD STREET
NEW YORK, NY, 10019

FL POWER HOUSE
2310 NW 102ND PLACE
DORAL, FL, 33172

FLORIDA POWER AND LIGHT FPL
General Mail Facility
Miami, FL 33188-0001

MILNER – USAGE
PO BOX 923197
NORCROSS, GA, 30010-3197

MILNER INC – BRICKELL
PO BOX 41602
PHILADELPHIA, PA, 19101-1602

MILNER INC
PO BOX 105743
ATANTA, GA, 30348-5743

Okin Pest Control
2170 Piedmont Rd NE
Atlanta, GA, 30324-4135

Premier Produce
2672 SW 36th St
Dania Beach, FL, 33312
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Professional Window Tinters
7385 Bird Rd (40th St)
Miami, FL, 33155

RB INTERNATIONAL
SUPPLY CORP
7265 NW 44TH ST
MIAMI, FL, 33166

US FOODS
PO BOX 281838
BOCA RATON, FL, 30384-1838

VIA Design Studio
103 Westward Drive
Miami, FL, 33142

BREX GHOST KITCHEN
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Balanced Management, LLC
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Balanced Management, LLC
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